 Case 4:23-cv-00095-AWA-RJK Document 1 Filed 07/14/23 Page 1 of 9 PageID# 1




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NEWPORT NEWS DIVISION

   MELINDA SMITH,

                  Plaintiff,


   v.                                                Civil Action No. 4:23cv95

   ATLAS NORTH AMERICA, LLC

         Serve:

         Adrian Joseph Culbreath,
         Registered Agent
         120 Newsome Drive, Suite H
         Yorktown, Va. 23692


   and

   THYSSENKRUPP MATERIALS NORTH AMERICA, LLC.

         Serve:

         Corporation Service Company
         100 Shockoe Slip, Floor 2
         Richmond, Va. 23219



                  Defendants

                                          COMPLAINT

         Plaintiff Melinda Smith (“Smith”), by and through counsel, file this Complaint against

Atlas North America, LLC (“Atlas”) and ThyssenKrupp Materials North America, LLC

(“ThyssenKrupp”), and in support thereof state as follows:
 Case 4:23-cv-00095-AWA-RJK Document 1 Filed 07/14/23 Page 2 of 9 PageID# 2




                          PARTIES, JURISDICTION AND VENUE

       1.      Smith is an individual residing at 3495 Lisburne Lane, Hayes, Va. 23072

       2.      Defendant Atlas North America, LLC is a Virginia limited liability company with

its principal location at 120 Newsome Dr, Yorktown, Virginia 23692.

       3.      Defendant ThyssenKrupp Materials North America, LLC., is a Delaware LLC

with its principal place of business located at 22355 W. 11 Mile Rd, Southfield, MI 48033 and is

a business entity authorized to transact business in Virginia.

       4.      This Court has subject matter jurisdiction pursuant to 28 USC 28 U.S.C. § 1331

as the claims herein arise in part for violations under The Defend Trade Secrets Act, 18 U.S.C. §

1836 and acts complained of herein occurred after May 11, 2016; the Court has supplemental

jurisdiction over the state law claims under 28 USC § 1367.

       5.      This Court has personal jurisdiction over the defendants as Atlas is a company

that is located in the Commonwealth of Virginia and conducts business within the

Commonwealth; Thyssenkrupp purchased Atlas and regularly conducts business within the

Commonwealth. Thyssenkrupp also reached into the Commonwealth to obtain and

misappropriate the trade secrets belonging to Plaintiff in the purchase of Atlas.

       6.      Venue is proper in this Court pursuant to 28 USC § 1391(b)(2) as a substantial

part of the events or omissions giving rise to the claims herein occurred in this District and

Division.




                                                 2
 Case 4:23-cv-00095-AWA-RJK Document 1 Filed 07/14/23 Page 3 of 9 PageID# 3




                                               FACTS

       7.        Smith, concerned about numerous reports of individuals who were reported missing

at sea due to falling overboard from vessels of all types, including cruise ships, merchant vessels,

and others, began contemplating means for the tracking and rescue people caught in such

circumstances.

       8.        By 2015, Smith had created the elements and function of a device to assist in the

tracking and rescue of individuals lost overboard (the “Invention”).

       9.        Smith personally knew an individual, Martin Wilcox, who was an engineer and the

owner of Marine Sonic Technology (“Marine Sonic”), a business specializing in the maritime

industry.

       10.       In March of 2015, Smith met with Martin Wilcox to discuss the potential patenting

and marketing of the Invention.

       11.       Smith knew that Wilcox had sold Marine Sonic, but when she went to meet with

Wilcox at his office per his suggestion, she learned that Wilcox was employed by Atlas North

America, the purchaser of Marine Sonic, and his office was located in Atlas North America’s place

of business.

       12.       At that meeting, Smith disclosed to Wilcox her Invention. Wilcox expressed

interest in, and asked Smith to perform a prior art search at the United States Patent Office, giving

her direction in how to conduct an initial search. Wilcox also told Smith that “they” needed to get

a non-disclosure agreement drawn up quickly.

       13.       Smith’s initial prior art search did not reveal any inventions that to her untrained

eye would preclude her from being able to protect and market her invention.



                                                  3
 Case 4:23-cv-00095-AWA-RJK Document 1 Filed 07/14/23 Page 4 of 9 PageID# 4




       14.     In or around early May of 2015, Wilcox spoke with Smith via telephone and

informed her that a non-disclosure agreement was being prepared for her to sign.

       15.     On May 20, 2015, Wilcox sent Smith an email with the Non-Disclosure Agreement,

attached as Exhibit 1, to be signed by her and dropped off at his office.

       16.     In the May 20, 2015 email, Wilcox also informed Smith by Wilcox that Atlas would

be pursuing patent protection for the Invention, naming her as inventor, and the production and

sale of the Invention.

       17. was which was entered into between Smith and Atlas North America, LLC and

electronically signed on behalf of Atlas by Adrian Culbreath, VP Business Operations.

       18.     On August 12, 2015, Wilcox on behalf of Atlas sent correspondence to Eric Evans

at Carnival Corporation (“Carnival”), the parent company of Carnival Cruise Line, explaining that

Smith had brought “us” the Invention, providing a brief description of the Invention and purpose,

and inquiring as to whether Carnival had any interest in the Invention. See email dated August 12,

2015, attached as Exhibit 2.

       19.     On June 21, 2017, Smith received a phone call from Wilcox informing her that

Atlas and its parent company, Atlas Elektronik, had been acquired by ThyssenKrupp in April of

2017. Wilcox told Smith that ThyssenKrupp was very interested in pursuing the Invention, and

asked Smith to provide him with personal contact information – name, address, place of

employment, and other information – informing her that he needed to provide that information to

ThyssenKrupp as she was to be listed as an “outside inventor” on the patent application.

       20.     ThyssenKrupp became a party to and/or the successor in interest to the Non-

Disclosure Agreement with Smith through its acquisition of Atlas and subsequent taking and use

of Smith’s Invention.
                                                 4
 Case 4:23-cv-00095-AWA-RJK Document 1 Filed 07/14/23 Page 5 of 9 PageID# 5




       21.     In July of 2018, Smith received confirmation from Wilcox via email that

ThyssenKrupp was pursuing patent protection for the Invention. See email dated July 3, 2018,

attached as Exhibit 3.

       22.     In August of 2019, Wilcox informed Smith that ThyssenKrupp did not “. . . want

us to do anything until a patent is obtained,” See email dated August 14, 2019, attached as Exhibit

4, but that “the patent” for her disclosed Invention had indeed been filed.

       23.     In February of 2020, Smith was informed by Wilcox that “. . . I put both our names

on the original in-house application, and it went into the [Thyssen-Krupp] patent process and they

did the actual paperwork and the formal application to the USPTO” and that “they” (Thyssen-

Krupp) “don’t want to do anything with the [Invention] until a patent is issued.” See email dated

February 5, 2020, attached as Exhibit 5. Wilcox further explained that the application based upon

Smith’s invention “went into the T-K patent process and they did the actual paperwork and the

formal application to the USPTO.” Exh. 5.

       24.     Smith continued to follow up on the patent process with ThyssenKrupp through

Wilcox but received no updated information. Smith continued to follow up with Wilcox as late as

July, 2020. See email dated July 27, 2020, attached as Exhibit 6.

       25.     At no time was Smith provided with confirmation of when, how, in what form, and

with whom as listed inventors, Thyssen-Krupp had filed the patent application based upon her

disclosures to them of the Invention.

       26.     Concerned about the status of her Invention and the patent protection for it, and

seeking further information, Smith hired Cardinal Intellectual Property (“Cardinal”) to do a search

for the pending application. Cardinal found no publicly available record that the patent application

had been filed. See Patent Search Report dated August 6, 2020, attached as Exhibit 7.
                                                 5
 Case 4:23-cv-00095-AWA-RJK Document 1 Filed 07/14/23 Page 6 of 9 PageID# 6




       27.     On September 11, 2020, in an attempt to ascertain the status of her Invention and

what steps Atlas and ThyssenKrupp, a letter was sent on her behalf to Rob Harmer, Esq.

(“Harmer”), Intellectual Property Counsel for ThyssenKrupp North America, Inc., by William E.

Johnson, Esq., seeking information about the status of the patent application. See letter dated

September 11, 2020, attached as Exhibit 8.

       28.     Harmer responded on October 9, 2020 via email correspondence (attached as

Exhibit 9) stating that the application had been filed and rejected, and that ThyssenKrupp

abandoned the application. The letter contained no further information or copies of any of the

documents associated with the patent application.

       29.     In response, Johnson, on behalf of Smith, sent a follow up letter requesting a copy

of the patent application and all related correspondence. See letter dated October 20, 2020,

attached as Exhibit 10.

       30.     Harmer’s response to the October 20, 2020 letter was via email, refusing to provide

any information to Smith, stating “I understand that your client may be curious, but ATLAS is not

under any obligation whatsoever to share this information with Ms. Smith – regardless of what

Mr. Wilcox may or may not have said previously.” See email dated October 27, 2020, attached as

Exhibit 11.

       31.     To date, Smith has received no information or documents related to the filing of or

status of the patent application other than the correspondence from Harmer.

       32.     Until Harmer’s letter of October 9, 2020, Smith did not know and could not

reasonably have discovered that Defendants had pursued, but then abandoned for reasons that

Harmer refused to disclose, thereby misappropriating Smith’s trade secrets.



                                                6
 Case 4:23-cv-00095-AWA-RJK Document 1 Filed 07/14/23 Page 7 of 9 PageID# 7




          33.   In an attempt to confirm the status of the patent application, as well as whether or

not Smith had (per her communications with Wilcox) or had not been named as an inventor on the

application incorporating the Invention, Smith contacted the United States Patent and Trademark

Office via telephone on November 2, 2020. By law, however, the USPTO could provide only

limited information as to the existence, form, content, and status of the application. During that

phone call, Smith was informed that:

                a. A patent application had been filed in 2019 with the title of “Overboard

                   Protection and Tracking System”;

                b. That Martin H. Wilcox was named as an inventor on the application; and

                c. That Smith was not named as an inventor on the application.

          34.   Defendants have harmed Smith in that they misappropriated her trade secret

invention, and used it to prepare and file a patent application that they then, without informing her

or involving her in the process, abandoned.

                   COUNT I: THEFT OF TRADE SECRET IN VIOLATION OF

                                              18 U.S.C. § 1836

          35.   The allegations of Paragraphs 1–34 are incorporated as though fully repeated

herein.

          36.   The Invention as disclosed to Defendants constituted trade secrets as evidenced, in

part, by the Non-Disclosure Agreement entered into by the Parties.

          37.   The filing of the patent application incorporating Smith’s Invention constituted a

misappropriation and use of her trade secret in violation of the Federal Defend Trade Secrets Act.

          38.   Defendants’ acts were willful and malicious.

          39.   Smith has been damaged as a result.
                                                 7
 Case 4:23-cv-00095-AWA-RJK Document 1 Filed 07/14/23 Page 8 of 9 PageID# 8




                     COUNT II: MISAPPROPRIATION OF TRADE SECRETS

                       IN VIOLATION OF VA. CODE ANN. § 59.1-336 et seq.

          40.   The allegations of Paragraphs 1-39 are incorporated as though fully repeated herein.

          41.   The Invention as disclosed to Defendants constituted trade secrets as evidenced, in

part, by the Non-Disclosure Agreement entered into by the Parties.

          42.   The filing of the patent application incorporating Smith’s Invention constituted a

misappropriation and use of her trade secret in violation of the Virginia Uniform Trade Secrets

Act.

          43.   Defendants’ actions were made in bad faith and/or were willful and malicious.

          44.   Smith has been damaged as a result.

                  COUNT III: BREACH OF NON-DISCLOSURE AGREEMENT

          45.   The allegations of Paragraphs 1-44 are incorporated as though fully repeated

herein.

          46.   A valid and enforceable Non-Disclosure Agreement was entered into between Atlas

and, subsequently and in addition to Atlas, ThyssenKrupp.

          47.   Through the misappropriation and use of Smith’s Invention, Defendants breached

the Non-Disclosure Agreement.

          48.   Smith has been damaged in an amount to be determined at trial.

          WHEREFORE, Plaintiff demands judgment against Defendants as follows:

          49.   Damages as provided for by the Federal Defend Trade Secret Act and the Virginia

Uniform Trade Secrets Act, including compensatory, exemplary and punitive damages;

          50.   Plaintiff’s actual damages;

          51.   The amount of Defendants’ unjust enrichment;
                                                 8
 Case 4:23-cv-00095-AWA-RJK Document 1 Filed 07/14/23 Page 9 of 9 PageID# 9




       52.     All profits attained as a result of the sale of products created using confidential

information;

       53.     Injunctive relief;

       54.     Pre- and post-judgment interest;

       55.     Attorneys fees, cost of suit and all other costs and expenses as provided for under

the Defend Trade Secrets Act and the Virginia Uniform Trade Secrets Act; and

       56.     Other such relief as the Court may deem proper.

             PLAINTIFF DEMANDS TRIAL BY JURY

       Dated: July 14, 2023

                                             MELINDA SMITH

                                             By :/s/ Duncan G. Byers
                                             Of Counsel
                                             Duncan G. Byers, Esq.
                                             Va. Bar ID #48146
                                             BYERS LAW
                                             1769 Jamestown Road, Suite 120
                                             Williamsburg, VA 23185
                                             Telephone: (757) 317-2779
                                             Facsimile: (757) 231-3797
                                             dbyers@dbyerslaw.com
                                              Counsel for plaintiff Melinda Smith




                                                  9
